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US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FILED

rat UNITED STATES DISTRICT COURT
AUG - 1 2019 OR THE NORTHERN DISTRICT OF TEXAS

 

 

 

DALLAS DIVISION
“UNITED STATES OF AMERICA
v. — NO. 3:19-CR-327-M
OMER KUZU

MOTION FOR DETENTION
The United States moves for detention of defendant, Omer Kuzu, pursuant to 18
U.S.C. §3142.
1. Eligibility of Case. This case is eligible for a detention order because the case
involves (check all that apply):
_____ Crime of violence (18 U.S.C. §3156);
_____ Maximum sentence life imprisonment or death
____ 10+ year drug offense
______ Felony, with two prior convictions in above categories
__x_ Serious risk defendant will flee
____ Serious risk obstruction of justice
___ Felony involving a minor victim
______ Felony involving a firearm, destructive device, or any other
dangerous weapon
____ Felony involving a failure to register (18 U.S.C. § 2250)
___ Petition for Supervised Release Revocation was filed

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2. Reason for Detention. The Court should detain defendant because there are no
conditions of release which will reasonably assure (check one or both):
___x_Defendant’s appearance as required |
__x_ Safety of any other person and the community

3. Rebuttable Presumption. The United States will/will not invoke the rebuttable

 

presumption against defendant because (check one or both):

____ Probable cause to believe defendant committed 10+ year drug
offense or firearms offense, 18 US.C.§924(c)

__x_ Probable cause to believe defendant committed a federal crime of
terrorism, 18 U.S.C. §2332b(g)(5)

_____ Probable cause to believe defendant committed an offense involving
a minor, 18 U.S.C. §§1201, 2251

____ Previous conviction for “eligible” offense committed while on
pretrial bond

_____ Probable cause to believe Defendant violated terms of supervised
release, FRCP 32.1(a)(6).

A. Time For Detention Hearing. The United States requests the Court conduct the

 

detention hearing,
x___ At first appearance
After continuance of days (not more than 3).

DATED this 1" day of _August , 2019.

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Respectfully submitted,

ERIN NEALY COX
UNITED STATES ATTORNEY

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Assistant United States Attorney
Bar No. 24032572

1100 Commerce Street, Third Floor
Dallas, Texas 75242

Telephone: 214-659-8838
Facsimile: 214-767-4104

Email: Errin.Martin@usdoj.gov

CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing was served on counsel for the

defendant in accordance with the Federal Rules of Criminal Procedure on this _Ist__ day

of August, 2019.

 

 

Assistant United States Attorney

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